Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 1 of 6. PageID #: 190


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-----------------------------------------------------------------------
                                                                          :
UNITED STATES OF AMERICA,                                                 :
                                                                          :        Case No. 1:18-cr-464
                       Plaintiff,                                         :
                                                                          :
vs.                                                                       :        OPINION & ORDER
                                                                          :        [Resolving Doc. 10]
CESAR VELOZ-ALONSO,                                                       :
                                                                          :
                       Defendant.                                         :
                                                                          :
-----------------------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

           In this case, the Court decides whether to grant Defendant Veloz-Alonso’s request to be

released on bond pending sentence, under the Bail Reform Act (“BRA”).                                     This relatively

straightforward question has devolved into an Article II turf war between the United States Attorney

and United States Immigration and Customs Enforcement (“ICE”). If the Court grants Defendant’s

motion, ICE threatens to detain and deport him before the Court can impose a sentence.

           On August 15, 2018, the Government charged Defendant Veloz-Alonso with illegally

reentering the United States.1 The Defendant pled guilty to the charge on October 2, 2018.2

           The next day, Defendant moved the Court to release him on bond pending sentencing.3 The

Court held an initial hearing on this issue on October 4, 2018 and further hearings on October 10,

2018.4 For the reasons stated at those hearings, and in this opinion, the Court GRANTS Defendant’s

motion, subject to the conditions detailed herein.

                                                                              Discussion

           As an initial matter, the Government claims that Defendant waived his right to a detention

hearing at his arraignment. 5 Not so. The minutes for the arraignment quite clearly state that


           1
             Doc. 1.
           2
             Doc. 9.
           3
             Doc. 10. The Government opposes. Doc. 12. Defendant replies. Doc. 14.
           4
             Docs. 11, 17.
           5
             Doc. 12 at 3.
Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 2 of 6. PageID #: 191
Case No. 1:18-cr-464
Gwin, J.

“Defendant waived detention hearing without prejudice as to his right to raise the issue at a later

date.”6

                    A.       The Bail Reform Act Requires Defendant’s Release

          The Bail Reform Act requires the Court to grant Defendant’s motion for after-guilty plea bond

if this Court finds, by clear and convincing evidence, that he “is not likely to flee or pose a danger to

the safety of any other person or the community” and that bond conditions would assure his presence

at the proceedings.7 The evidence demonstrates just that.

                    Thirty-nine-year old Defendant Veloz-Alonso is married with three children and

appears to have spent twenty-five years in this country.8 An employee at his son’s school indicated

that Defendant’s “dedication to his family is apparent [and] he takes pride in the educational success

of his children.”9 His son’s teacher stated that Defendant is “very involved in [his son’s] education,

making sure he is at school on a regular basis, [and] that his [son’s] work is done.”10 And his employer

described Defendant as “a loving and responsible father.”11

          Defendant worked for Heinz Construction for thirteen years.12 He apparently worked “very

hard and very seriously,” often arrived early, and was “the top skilled tradesperson on [their] crew.”13

One of Defendant’s co-workers describes him as “an honest, hard-working, and reliable person of

integrity.”14 In fact, Heinz Construction, itself, has asked to post bond for Defendant.15

          Defendant is also active in his community. He appears to be active in his church16 and “a

role model not only for his children, but to others in his community.”17 An employee at his son’s



          6
            Doc. 3 (emphasis added).
          7
            18 U.S.C. § 3143(a).
          8
            Pre-Trial Services Report.
          9
            Doc. 8-1 at 45.
          10
             Id. at 46.
          11
             Id. at 43–44.
          12
             Id.
          13
             Id.
          14
             Id. at 47.
          15
             Id. at 43–44.
          16
             Id. at 42.
          17
             Id. at 46.
                                                     -2-
Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 3 of 6. PageID #: 192
Case No. 1:18-cr-464
Gwin, J.

school wrote that Defendant volunteers on field trips, attends school conferences, and participates in

school organizations. 18         This school employee also says that, Defendant “has added to the

improvement of Painesville City. He has taken a neglected dwelling and transformed it into a

beautiful home.” 19 And that, “[d]eporting him w[ould] be a detrimental loss . . . to our vibrant

community.”20

         Most importantly, Defendant has no criminal history whatsoever (aside from immigration

violations).21

         Thus, the Court finds there is clear and convincing evidence that Defendant poses neither a

flight nor a safety risk.

                   B.       The ICE Detainer Does Not Change Defendant’s Eligibility

         The Government informs the Court that, if it releases Defendant on bond, ICE will

immediately detain and deport Defendant.22 It further argues that ICE’s possible detention is a risk

that Defendant will “flee” under the Bail Reform Act.23 The Government is incorrect. 24

         To begin, the Government’s proposed understanding of the word “flee” stretches English to

the breaking point. “Flee” is inescapably volitional25 and the Bail Reform Act uses it as an active

verb.26 No one would describe someone who had been kidnapped as having fled.

         Further, rather than use the word “flee,” Congress could have required the Court to determine

“that the person is not likely to miss a proceeding.”27 It did not.




         18
            Id. at 45.
         19
            Id.
         20
            Id.
         21
            Pre-Trial Services Report.
         22
            Doc. 12 at 3.
         23
            Id. at 5–6.
         24
            United States v. Santos-Flores, 794 F.3d 1088,1090–92 (9th Cir. 2015);United States v. Ailon-Ailon, 875 F.3d
1334, 1338 (10th Cir. 2017).
         25
            See, e.g., Webster’s Third New International Dictionary 868 (1981) (“[T]o run away . . . .”).
         26
            18 U.S.C. § 3143 (“[T]he person is not likely to flee.”).
         27
            For example, Congress uses the phrase “reasonably assure the [defendant’s] appearance” seven times in 18
U.S.C. § 3142 alone.
                                                          -3-
Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 4 of 6. PageID #: 193
Case No. 1:18-cr-464
Gwin, J.

         Additionally, taken to its logical conclusion, the Government’s argument implies that all

deportable aliens are per se ineligible for bail. This cannot be case. 28 The Bail Reform Act

provides for the temporary detention of noncitizens under certain circumstances,29 which would be

unnecessary if Congress thought that deportable persons were categorically ineligible for bail.30

         The Government has repeatedly insisted that the Tenth Circuit’s opinion in United States v.

Vasquez31 supports its proposed definition.32 The Government badly misreads the Tenth Circuit’s

opinion. In a subsequent, published decision, the Tenth Circuit explicitly repudiated the

Government’s interpretation of flight, and of Vasquez.33

         In short, the Court does not believe that “flee” is malleable enough to allow the

Government to create the very violation it then insists should preclude release.

         More fundamentally, the Court does not believe that ICE has the authority to carry out its

threat to detain Defendant in spite of the Court’s bail determination. This issue arises in the

collision between the Immigration and Naturalization Act (“INA”) and the Bail Reform Act . The

INA generally authorizes ICE to detain a deportable alien.34 Conversely, as discussed, the BRA

requires the Court to release Defendant on bond with the conditions necessary to reasonably

ensure Defendant’s attendance at the sentencing hearing. The Court cannot enforce that mandate if

ICE deports Defendant before sentencing.

         The Court pauses to note that this statutory conflict only exists because two executive

agencies will not cooperate. And it is perplexing that the executive branch squanders the time and


         28
              United States v. Trujillo-Alvarez, 900 F. Supp. 2d 1167, 1174 (D. Or. 2012) (“In promulgating the BRA, Congress
chose not to exclude deportable aliens from consideration for release or detention in criminal proceedings.”) (quotations
omitted).
           29
              18 U.S.C. § 3142(d) (If the defendant is not temporarily detained, then they “shall be treated in accordance with
the other provisions of this section, notwithstanding the applicability of other provisions of law governing release pending
trial or deportation or exclusion proceedings.”) (emphasis added).
           30
              See also United States v. Brown, No. 4-15-CR-102, 2017 WL 3310689, at *4 (D.N.D. July 31, 2017) (“Congress
affirmatively extended to alien persons the same protections it affords citizens under the [BRA] . . . the court would violate
the Bail Reform Act if it detained defendant based only on the fact . . .[that] ICE has filed a detainer.”).
           31
              413 F. App’x 42 (10th Cir. 2011).
           32
              Doc. 16 at 5; Doc. 12 at 5–6.
           33
              Ailon-Ailon, 875 F.3d at 1338, n.2.
           34
              8 U.S.C. § 1231; 8 U.S.C. § 1226.
                                                             -4-
Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 5 of 6. PageID #: 194
Case No. 1:18-cr-464
Gwin, J.

resources it has invested in this issue. 35 The Government itself sponsors streamlined procedures to

quickly sentence illegal reentrants.

         Although the Sixth Circuit has yet to weigh in, a large number of district courts have

concluded that ICE may not detain or deport a federal criminal defendant released on bond.36 The

Court concludes the same.37

         For one, the BRA is both more recent and more specific than the INA. Plus, the purposes of

the Bail Reform Act—providing release to certain criminal defendants—would be decimated by ICE

detention. Meanwhile, the purposes of the INA—detention and removal of illegal aliens—would

merely be delayed by the Court’s order. Finally, the Bail Reform Act tasks judicial—not executive—

officers with the responsibility of determining whether a defendant should be released on bond.38

ICE’s proposed action would effectively thwart this authority.

         Other considerations also weigh against allowing ICE to proceed. For one, ICE’s sudden

threat seems at odds with the national interest. By bringing this case, the United States has

determined that prosecuting this case is more important than immediate deportation. It has

reaffirmed this interest by refusing to dismiss this case. Further, ICE’s own regulations seem to

generally reflect that a criminal alien defendant’s sudden exodus is prejudicial to the United

States.39




        35
           Although, apparently, this is more common than the Court thought. See Spencer S. Hsu, U.S. Judges Balk at
ICE Detention of Defendants Granted Bail Under Trump ‘Zero Tolerance’ Push, THE WASHINGTON POST (Oct. 11, 2018)
(https://www.washingtonpost.com/local/public-safety/us-judges-balk-at-ice-detention-of-defendants-granted-bail-under-
trump-zero-tolerance-push/2018/10/10/ccd42830-c4f7-11e8-b2b5-
79270f9cce17 story.html?utm term=.6c51b2dec642&noredirect=on).
          36
             See, e.g., United States v. Garcia, 18-cr-20256, 2018 WL 3141950 (E.D. Mich. June 27, 2018);United States
v. Boutin, 269 F. Supp.3d 24 (E.D.N.Y. 2017);Trujillo-Alvarez, 900 F. Supp. 2d 1167.
          37
             While some district courts have gone the other way, even those courts have generally disapproved of the
Government’s position. See United States v. Villatoro-Ventura, No. CR18-4060, 2018 WL 4376983, at *2 (N.D. Iowa Sep.
12, 2018) (“I do not find it appropriate for the federal courts to step in and save the Executive Branch from its own, baffling
decisions.”).
          38
             18 U.S.C. § 3143.
          39
             See 8 C.F.R. §§ 215.2(a); 215.3(g). While these regulations do not control here, they certainly suggest that
Defendant’s abrupt removal in the midst of his criminal proceedings is not in the United States’ best interests.
                                                             -5-
Case: 1:18-cr-00464-JG Doc #: 21 Filed: 10/12/18 6 of 6. PageID #: 195
Case No. 1:18-cr-464
Gwin, J.

         The Court is unclear as to what ICE seeks to gain through this gambit. It trades a potential

sentence for a marginally faster deportation.

         Finally, the threatened deportation invades the separation of powers. Once Article II

government authorities invoke Article III’s jurisdiction over a criminal case, it must cede control of

the Defendant while that case is pending. It is practically essential and constitutionally inherent

that the Court have custodial powers over a criminal defendant. The idea that executive officers

could haul a criminal defendant from the witness stand mid-testimony turns the constitutional

paradigm on its head. ICE’s position smacks of a threat to the judiciary not to disagree with ICE’s

bond position.

         For the reasons stated, the Court GRANTS the Defendant’s motion for release pending

sentencing so long as he: (i) posts bond in the amount of $30,000, which must be secured by a lien

on his home, (ii) remains confined to his home during the period of release, and (iii) complies with

electronic monitoring, provided by Pre-Trial Services. The Court further ORDERS the United States

to refrain from detaining or deporting Defendant while he is released pending sentencing.40

         Finally, the Court has reached out to this Court’s probation department to ask if it is possible

to speed preparation of Defendant Veloz-Alonso’s presentence report to allow an earlier sentencing

hearing.

         IT IS SO ORDERED.



Dated: October 12, 2018                                            s/         James S. Gwin
                                                                   JAMES S. GWIN
                                                                   UNITED STATES DISTRICT JUDGE




          40
             See Santos-Flores, 794 F3d at 1091 (“If the government, by placing [defendant] in immigration detention or
removing him, jeopardizes the district court’s ability to try him, then the district court may craft an appropriate remedy.”);
see also 18 U.S.C. § 3142(c)(B) (“[The] judicial officer shall . . . [impose] conditions, that such judicial officer determines
will reasonably assure the appearance of the person as required . . . .”).
                                                             -6-
